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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :    Chapter 11
GLOBAL BROKERAGE, INC.,                                        :
                                                               :    Case No. 17-13532 (MEW)
                  Debtor.1                                     :
                                                               :
----------------------------------------------------------------x

                           FINAL DECREE AND ORDER
              CLOSING THE REORGANIZED DEBTOR’S CHAPTER 11 CASE

                 Upon the motion of the Reorganized Debtor (the “Motion”)2 for a final decree and

order (this “Order”) pursuant to Bankruptcy Code sections 105(a) and 350(a), Bankruptcy Rule

3022 and Local Bankruptcy Rule 3022-1 closing the chapter 11 case under the above-referenced

case number; and due and sufficient notice of the Motion having been given; and the Court

having considered the Closing Report; and the Court having considered the objection filed to the

Motion [Dkt. No. 86] (the “Objection”); and the Court having determined the Reorganized

Debtor’s chapter 11 case has been fully administered; and it appearing that no other or further

notice is necessary; and it appearing that the relief requested in the Motion is in the best interests

of the Reorganized Debtor, its estate and creditors; and after due deliberation thereon and due

and sufficient cause appearing therefor, it is hereby,

                 ORDERED, THAT:

                 1.       The Motion is GRANTED as set forth in this Order.

                 2.       The Objection is OVERRULED.

1       The Debtor (as defined herein) in this chapter 11 case, along with the last four digits of the
Debtor’s federal tax identification number, is: Global Brokerage, Inc. (8672). The location of the Debtor’s
corporate headquarters and the Debtor’s service address is: 55 Water Street, 50th Floor, New York, NY
10041.
2
        Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.


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               3.      The Chapter 11 Case is hereby closed as of the date hereof.

               4.      This Order is without prejudice to any parties’ right to seek to re-open the

closed Chapter 11 Case for good cause shown.

               5.      The appointment and services of Prime Clerk, LLC (“Prime Clerk”) as the

claims and noticing agent in the Chapter 11 Case shall be terminated as of the date hereof, and

Prime Clerk is hereby released from any further duties and responsibilities in the Reorganized

Debtor’s Chapter 11 Case. Notwithstanding the foregoing, as soon as practicable following the

entry of this Order, the Reorganized Debtor shall pay Prime Clerk for services performed as

claims and noticing agent in accordance with the terms of this Court’s Order Authorizing

Retention and Appointment of Prime Clerk LLC as Claims and Noticing Agent [Docket No. 31]

and the Engagement Agreement (as such term is defined in the aforementioned order).

               6.      Pursuant to Local Bankruptcy Rule 5075-1(d), Prime Clerk shall dispose

of any records and other documents that have been provided or delivered to Prime Clerk,

whether in paper or electronic form, in accordance with the Protocol for the Employment of

Claims And Noticing Agents Under 28 U.S.C. § 156(C).

               7.      The Reorganized Debtor shall pay to the U.S. Trustee any quarterly fees

that are due and payable pursuant to 28 U.S.C. § 1930(a)(6) within 10 days of such fees being

due.

               8.      Notwithstanding any stay that might be applicable to this Order, this Order

shall be effective and enforceable immediately as of the date hereof.

               9.      The Court shall retain jurisdiction with respect to all matters arising from

or relating to the implementation or interpretation of this Order.




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                  10.      The closing of the case shall not authorize the Reorganized Debtor to

destroy any documents, and any obligations of the Reorganized Debtor to preserve documents

relevant to pending litigation shall continue pursuant to the applicable preservation orders and

applicable law.

Dated: New York, New York
       August 1, 2018


                                               s/Michael E. Wiles
                                               HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE




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